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                        Exhibit A
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  1                        UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
  2                              HAMMOND DIVISION

  3   CRISTOBAL ALVAREZ, et al.           )
                                          )
  4         Plaintiffs,                   )
                                          )
  5   vs.                                 ) 2:17-CV-414
                                          )
  6   ATLANTIC RICHFIELD COMPANY,         )
      et al.                              )
  7                                       )
            Defendants.                   )
  8
                          TRANSCRIPT OF STATUS HEARING
  9                              January 26, 2023
                      BEFORE THE HONORABLE PHILIP P. SIMON
 10                        UNITED STATES DISTRICT JUDGE

 11   A P P E A R A N C E S:

 12   FOR THE PLAINTIFFS:

 13
                              DAVID J. CHIZEWER
 14                           STACEY E. PETREK
                              Goldberg Kohn Ltd.
 15                           55 E Monroe Street
                              Suite 3300
 16                           Chicago, Illinois 60603
                              (312) 201-4000
 17

 18   FOR THE DEFENDANTS, ATLANTIC RICHFIELD COMPANY and BP WEST
      COAST PRODUCTS LLC:
 19
                              DIANA E. REITER
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                              250 W 55th Street
 21                           New York, New York 10019
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  1   A P P E A R A N C E S: (Continued)

  2   FOR THE DEFENDANTS, E.I. DuPONT DE NEMOURS AND COMPANY and THE
      CHEMOURS COMPANY:
  3
                              HONOR R. COSTELLO
  4                           Crowell & Morning LLP
                              590 Madison Avenue
  5                           20th Floor
                              New York, New York 10022
  6                           (212) 223-4000

  7                           JANELLE P. KILIES
                              Lewis Wagner LLP
  8                           1411 Roosevelt Avenue
                              Suite 102
  9                           Indianapolis, Indiana      46201
                              (317) 237-0500
 10

 11   ALSO PRESENT:           Harold Abrahamson, Esq.
                              Thomas M. Connor, Esq.
 12                           Roy P. Amatore, Esq.
                              H. Max Kelln, Esq.
 13                           Colin E. Flora, Esq.
                              Eric S. Pavlack, Esq.
 14

 15

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  1         (The following proceedings were held in open court

  2         beginning at 10:26 a.m., reported as follows:)

  3               DEPUTY CLERK:     All rise.

  4               THE COURT:    You can be seated.

  5         Good morning, everyone.

  6         All right.     We're on the record here this morning in

  7   several different cases based on an order I issued back in

  8   early December.

  9         So just to get this teed up, we have -- I'm going to be

 10   colloquial here.      We have the Holiday case, 2:16-CV-525; we

 11   have the Barbee case, 2:17-CV-193; the Alvarez case,

 12   2:17-CV-414; the Baker case, 2:17-CV-429; the Adams case,

 13   2:18-CV-375; and the S.A., et al. case, 2:21-CV-359.

 14         So I set this omnibus, sort of, status hearing on all of

 15   those cases because, you know, they're obviously related to one

 16   another, at least the way I look at it.          And all the cases were

 17   reassigned to me, I don't know, sometime in November I think;

 18   and it would be very helpful to me to hear from -- give

 19   everybody an opportunity to be heard.

 20         I have reviewed the dockets.        And, frankly, these dockets

 21   are impenetrable.      I ask you to put yourself in my position and

 22   have these six cases, sort of, dumped on me and to try to sort

 23   of figure out what in the hell is going on here.           I don't

 24   understand it.     So just, please, give me a moment.

 25         You know, I have reviewed these documents -- or these

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  1   dockets, and I have a lot of questions that I just don't

  2   understand.     Listen, Judge Kolar has done a fantastic job

  3   trying his level best to get these things on track; but, as I

  4   said, there's a lot that I don't understand.

  5           How are we six or seven years into these cases and we're

  6   still at the pleading stage?        I mean, these cases are 2016.         My

  7   law clerk, he was telling me he was a sophomore in college when

  8   the cases were filed.       It's crazy.

  9           Why are there six different lawsuits?       I don't understand

 10   that.     They all relate to the same basic transaction and

 11   occurrence, as far as I can see.          Why are some plaintiffs named

 12   in more than one lawsuit?

 13           For example, I saw that this Mr. -- I think it's

 14   Mr. Alvarez is in one lawsuit making claims of personal

 15   injuries, essentially, and then is in another lawsuit making

 16   property damage claims, you know, splitting his claims.             I

 17   don't understand that.

 18           So I want to get my arms around this because we're going

 19   to move these cases along expeditiously.

 20           Now, mea culpa here because it's not all your fault.            I've

 21   looked at these dockets and, you know, this is too long to get

 22   rulings out to you folks on things.          And you're not going to

 23   wait 15 months from me to get a ruling on a motion to dismiss.

 24   It's just not going to happen.

 25           I wanted to have this opportunity to introduce myself -- I

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  1   don't know many of you -- and to tell you my plan is to move

  2   these along with dispatch, but reasonably.            I'm not

  3   unreasonable, but we've got to move these along.            We can't be

  4   at the pleading stage of lawsuits seven years later.             That just

  5   doesn't make any sense to me.

  6           So what I want to do first is just to go around the room.

  7   I only want to hear from one lawyer in each of these lawsuits

  8   to make this manageable for me.

  9           So who is lead plaintiffs' counsel in the Holiday case?

 10                MR. FLORA:   Your Honor, I'll handle that.         This is

 11   Attorney Colin Flora.

 12                THE COURT:   I'm sorry.     Your name is?

 13                MR. FLORA:   Colin Flora.

 14                THE COURT:   Mr. Flora.     All right.

 15                MR. FLORA:   Your Honor, I think it may serve -- since

 16   we are lead counsel --

 17                THE COURT:   Let me cut you off.      I want to go through

 18   this exercise so I just can figure out who I can talk to for

 19   each of these cases.      Okay?

 20                MR. FLORA:   Yes, sir.

 21                THE COURT:   Just permit me to do that.

 22           By the way, I have 90 minutes and not a minute longer

 23   because I have a flight to catch.         I'm not here to argue

 24   motions or -- I'm just trying to get my arms around this thing,

 25   okay.     So just permit me.

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  1           Who is lead defense counsel for DuPont in the Holiday

  2   case?

  3                MS. COSTELLO:     Honor Costello.

  4                THE COURT:     How about for the Hammond Group?

  5                MR. ABRAHAMSON:        Your Honor, Harold Abrahamson here.

  6   I'm local counsel.        Tom Connor is principal counsel.       He is

  7   driving here from Cincinnati.           He should be here any minute.

  8                THE COURT:     Yeah.     Unfortunately, I saw I-65 is a

  9   nightmare.     It is, basically, blocked off.

 10                MR. ABRAHAMSON:        Right.

 11                THE COURT:     I understand.

 12           Let's go to the Baker case.          Who is lead counsel for the

 13   plaintiffs in the Baker case?

 14                MR. FLORA:     Again, myself, Your Honor.

 15                THE COURT:     Mr. Flora.

 16           And DuPont, is that also you, Ms. Costello, in that case?

 17                MS. COSTELLO:     That's correct.

 18                THE COURT:     Okay.     Just so I'm keeping track here.

 19           The same for the Hammond Group.          Okay.

 20           All right.   So we have the Alvarez case.         That's the

 21   Goldberg Kohn firm.

 22           Who is lead counsel on that one?          Is that you, sir?

 23                MR. CHIZEWER:     Yes, David Chizewer, Your Honor.

 24                THE COURT:     Mr. -- how do you pronounce your name?

 25                MR. CHIZEWER:     Chizewer.

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  1                 THE COURT:    Chisler (phonetic)?

  2                 MR. CHIZEWER:     Were.    Chizewer, not a Chizler

  3   (phonetic).

  4                 THE COURT:    Yeah, exactly.     That didn't sound right.

  5   Chizewer.      Got it.

  6         Okay.     And then who represents Atlantic Richfield in the

  7   Alvarez case?

  8                 MS. REITER:     I do, Your Honor.     Diana Reiter.

  9                 THE COURT:    Okay.     Ms. Reiter.   Got it.

 10         All right.     How about DuPont?       Is that you, Ms. Costello,

 11   again?

 12                 MS. COSTELLO:     That's correct.

 13                 THE COURT:    Okay.     I can't tell the players without a

 14   score card here.

 15         Barbee case.       We're back to you, Mr. Flora, as lead

 16   counsel, correct?

 17                 MR. FLORA:    Yes, you are, Your Honor.

 18                 THE COURT:    Okay.

 19         DuPont.     Ms. Costello, correct?

 20                 MS. COSTELLO:     Correct.

 21                 THE COURT:    All right.

 22         And the Hammond Group is you, Harold, correct,

 23   Mr. Abrahamson?

 24                 MR. ABRAHAMSON:       Yes, Your Honor.

 25                 THE COURT:    In the Adams case who is lead plaintiff's

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  1   counsel in that?

  2               MR. AMATORE:     Roy Amatore, Judge, A-M-A-T-O-R-E, pro

  3   hac vice.

  4               THE COURT:     And then we have Atlantic Richfield.

  5   That's you then?

  6               MS. REITER:     Yes, Diana Reiter.

  7               THE COURT:     I'm not showing you as -- did you enter

  8   an appearance on that recently?          You have been on that case.

  9   My notes then are just wrong.

 10         But, Ms. Reiter, I got you.

 11         And then, Ms. Costello, for DuPont?

 12               MS. COSTELLO:     Correct.

 13               THE COURT:     Mr. Abrahamson.

 14         Is this your co-counsel here, Mr. Abrahamson, the

 15   gentleman you were just referencing who was on his way?

 16               MR. ABRAHAMSON:     There we go.

 17               MR. CONNOR:     Good morning, Your Honor.      Yes, Your

 18   Honor, Thomas Connor for the Hammond Group.

 19         Apologies for the delay.

 20               THE COURT:     I understand.     I-65 is a mess.

 21         I'm just trying to identify who the players are here and

 22   the lawyers in each of these cases.

 23         Are you lead counsel on behalf of the Hammond Group in all

 24   of these cases that you guys are involved in?

 25               MR. CONNOR:     Yes, Your Honor.     In all the cases in

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  1    which the Hammond Group is a defendant, yes, sir.

  2                THE COURT:     So I can talk to you for those cases.

  3          Then, finally, is this S.A. case.

  4          Again, that's yours, Mr. Flora?

  5                MR. FLORA:     Yes, it is, Your Honor.

  6                THE COURT:     Okay.   And for the defense we would have

  7    Ms. Costello and Mr. Connor, right?

  8                MS. COSTELLO:     Correct.

  9                THE COURT:     Okay.

 10                MR. AMATORE:     Your Honor, there was another defendant

 11    in the Adams case you did not reference, U.S. Smelter.

 12                THE COURT:     Who has entered an appearance on that?

 13    Do you know?

 14                MR. AMATORE:     The name of the attorney?

 15                THE COURT:     Yes.

 16                MR. AMATORE:     I'm sorry.   I can't recall, Judge.

 17                MS. COSTELLO:     Kevin Toner and some attorney from

 18    Faegre Drinker.

 19                MS. REITER:     Max Kelln is the other lawyer.

 20                THE COURT:     Is there anybody in the courtroom who

 21    represents that entity?

 22          (No response.)

 23                THE COURT:     Okay.   Thank you.

 24          All right.    So what I want to do is go through each one of

 25    these lawsuits and give you guys an opportunity to answer some

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  1    of my questions that I have already articulated and give me

  2    some plan about how we're going to move forward here in a

  3    productive way.     Okay?

  4          So let me just ask you first, Mr. Flora.         This totally

  5    perplexes me.     You and the Alvarez firm represent the

  6    plaintiffs in Holiday, Baker, and Barbee, correct?

  7                MR. FLORA:      Correct, Your Honor.

  8                THE COURT:      Why are there three lawsuits?

  9                MR. FLORA:      So, functionally, the reason there's

 10    three lawsuits is because we ended up getting clients across

 11    three different periods of time.          The initial batch of clients

 12    we had, we filed in the Holiday case, filed in state court.

 13    That was then removed to federal court.

 14          As you can see from the docket, we did not agree that

 15    there was federal jurisdiction.          So when we got additional

 16    plaintiffs, we couldn't file in federal court.           We didn't think

 17    there was jurisdiction.        So we can't tell this Court --

 18                THE COURT:      So why weren't they consolidated?      I

 19    mean, that ship sailed four years ago.

 20                MR. FLORA:      Your Honor, we moved -- once we got the

 21    appeal done in the Baker case and jurisdiction was settled, we

 22    moved --

 23                THE COURT:      Are you Mr. Kelln?

 24                MR. KELLN:      Yes, I am.    Sorry for the delay.

 25                THE COURT:      No, I understand.    I-65 has been a

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  1    disaster.    I'm just trying to identify who is who here.          I

  2    understand now.

  3                MR. KELLN:     Yep.

  4                THE COURT:     Go ahead, Mr. Flora.

  5                MR. FLORA:     So at that point it was our plan to

  6    consolidate the cases, file one master complaint.           We filed a

  7    motion to consolidate.       It was resisted by Atlantic Richfield,

  8    who also filed a motion to sever the claims, and that was

  9    denied.

 10          So, yes, it would be our interest to have those three

 11    cases, in particular, and probably also the S.A., or shorthand

 12    Allen, which is the parental representative in that case -- we

 13    would be fine consolidating the four of those cases and even

 14    doing one master complaint for them.

 15                THE COURT:     You are saying there's four case?

 16                MR. FLORA:     Well, the S.A. Allen, which we represent,

 17    is the newest one.       That was just filed because we got 10 new

 18    minors we had to bring claims on behalf of, so that was a new

 19    case that we -- because of the --

 20                THE COURT:     ARCO is no longer in any of those cases,

 21    correct?

 22                MR. FLORA:     Correct.

 23                THE COURT:     Okay.

 24          So let me ask you, Ms. Costello, do you resist

 25    consolidating those --

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  1                 MS. COSTELLO:    We do.

  2                 THE COURT:    -- so that I can make this manageable?

  3                 MS. COSTELLO:    We do, Your Honor.

  4          We believe that there's nothing that a consolidation would

  5    achieve that can't be accomplished through coordination and

  6    stipulations.

  7                 THE COURT:    What's the downside to the consolidation?

  8                 MS. COSTELLO:    Well, Your Honor, we've noted on the

  9    record that we reserve our right to sever the claims because

 10    the individual claims are actually too unique, and so we don't

 11    actually think they should be tried together.

 12                 THE COURT:    Okay.     I understand that.   But they filed

 13    a motion to certify the class in the S.A. case.           I know you

 14    filed a motion to strike.          That seems preemptive to me, out of

 15    ordinary, in my way of thinking, you know.

 16          They want class allegations.         They file a motion to

 17    certify the class, then you resist it.          And I decide one way or

 18    the other.     But you have, sort of, preemptively tried to cut it

 19    off at jump street.       I don't understand that.

 20                 MS. COSTELLO:    Two comments, Your Honor.

 21          First, the class allegations only relate to minors; so

 22    there will be adult individual claims proceeding regardless of

 23    what happens with the motion to strike class allegations.

 24          Second, again, it's this idea of these claims are really

 25    unique individual claims.          Liability cannot be established for

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  1    each plaintiffs' claim on a class-wide basis.

  2                 THE COURT:   Why not?

  3                 MS. COSTELLO:   Because there will be individual

  4    issues of causation for each plaintiff that they are going to

  5    have to show medical causation.        There's going to be unique

  6    defenses.     There will be, you know, differences in injuries and

  7    damages.

  8                 THE COURT:   Okay.   Fair enough.     That's something it

  9    sounds like you would fight out when they try to certify the

 10    class.     Maybe you have good arguments one way or the other.

 11    But you've kind of flipped the script by trying to do it

 12    preemptively; that's what I'm not understanding.

 13          And I'm also not understanding why those four lawsuits

 14    that are represented by the same law firm that are making the

 15    identical claims against your client, why for purposes of just

 16    expediency we wouldn't handle them -- so I'm not flipping

 17    through four dockets.

 18          Do you understand these dockets are a mess?

 19                 MS. COSTELLO:   I do.    I understand it's a very

 20    complicated procedural history in each of the cases.            I

 21    understand that.

 22                 THE COURT:   So I'm not trying to be argumentative

 23    with you.     I'm not understanding why -- you may be right that

 24    these should be all done individualized, and we can have that

 25    argument.     But, initially, why wouldn't we, at least,

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  1    consolidate them into the earliest case, the Holiday case?

  2                MS. COSTELLO:    Well, Your Honor, the parties have

  3    actually already briefed the issue of consolidation.            And in, I

  4    believe it was, spring of 2021, Magistrate Judge Kolar found

  5    that there wasn't enough in the record for him to decide that

  6    he could properly consolidate them at that time.           And given the

  7    procedural posture we're in, there's nothing new in the record

  8    to support it.     Maybe down the road we could reconsider.

  9                THE COURT:    All right.    Fair enough.     I guess I'll

 10    flip through four dockets.       It just doesn't -- with all due

 11    respect to Magistrate Judge Kolar, I don't understand that.

 12          You are not being prejudiced in any way.         What I'm asking

 13    is -- it makes things a little bit easier for the Court when

 14    you have the same lawyers and the identical claims.           Every

 15    plaintiff in those four cases either lived in the housing

 16    complex or went to the elementary school, and why they are in

 17    four different cases I just don't understand.          I understand how

 18    it got there, but I don't understand why it needs to stay

 19    there.   Be that as it may.

 20          What else you want to tell me?

 21                MR. FLORA:    Your Honor, we could move orally or we

 22    can file a motion to consolidate.        We agree 100 percent.        We

 23    end up filing four responses to motions to dismiss that are

 24    basically the exact same cut and paste.         We are in favor of

 25    putting them all in one case.

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  1          If you take an oral motion, I will move right now.             If you

  2    want to --

  3                 THE COURT:   No, I'm not taking an oral motion.          I'm

  4    telling you -- I have done my best to get through this mess.                I

  5    have no idea whether what counsel is saying has legs or not.

  6    I'm not just going to at the seat of my pants tell you to

  7    consolidate it.     I'm telling you what my instincts are and

  8    that's all.

  9          So if you want to move to consolidate them, I will put the

 10    ball in your court and then we'll brief it and I'll get an

 11    opinion out to you promptly.

 12                 MR. FLORA:   All right.

 13                 THE COURT:   Okay.   So tell me where exactly we are in

 14    the Holiday case.

 15                 MR. FLORA:   In the Holiday case we now are at the

 16    motion to dismiss stage.

 17                 THE COURT:   Seven years later?

 18                 MR. FLORA:   Seven years later.

 19          We have jurisdiction established.        That was established

 20    with the conclusion of the Seventh Circuit's ruling in the

 21    Baker appeal.     And then following that, we got the rulings in

 22    the initial round of motion to dismiss.         Then after that we

 23    filed a motion for leave to amend, which was filed within two,

 24    three months after the rulings on the motion to dismiss.

 25          We briefed the motions for leave to amend.          We got a

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  1    ruling on that in, I believe, September of 2022.           Then we filed

  2    our new amended complaints.       And we're on the motion to dismiss

  3    those amended complaints.

  4                THE COURT:    Okay.   As I understand, the motion to

  5    dismiss was ripe as of last week; is that right, Ms. Costello?

  6                MS. COSTELLO:    That's correct.      Yes.

  7                THE COURT:    Of course, you've also filed your motion

  8    to strike the class allegations that we talked a little bit

  9    about.

 10          So that's all teed up, ready for me to decide, right?

 11                MR. FLORA:    Yes, Your Honor.

 12                THE COURT:    So how many plaintiffs are in the new

 13    iteration of the complaint, roughly?

 14                MR. FLORA:    I would have to double-check, but I think

 15    it's probably about 219, 220 in the Holiday case.           We

 16    originally had --

 17                THE COURT:    Were any of those subject to

 18    Van Bokkelen's ruling that you can't amend?          Wasn't there an

 19    earlier motion to dismiss or no?

 20                MR. FLORA:    There was an initial round of motions to

 21    dismiss that Judge Van Bokkelen ruled on in the summer of 2020,

 22    I believe August of 2020.

 23                MS. COSTELLO:    August of 2021.

 24                THE COURT:    Okay.

 25                MR. FLORA:    My apologies.     2021, yes, because 2020 we

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  1    are still on the appeal.

  2          In 2021 we got the rulings on the motion to dismiss, and

  3    in those rulings it granted -- basically granted leave that we

  4    could -- it directed us to file leave to -- or a motion to seek

  5    leave to file an amended complaint.         So that was the next

  6    stage, and it gave us a timeline to do that.

  7                THE COURT:     Okay.

  8          So, Ms. Costello, can I ask you -- again, I don't want to

  9    get into the substance of this too much because I am not

 10    prepared to do it.       What I was trying to get at with my

 11    question is, is one of the arguments that something that Judge

 12    Van Bokkelen did is dispositive and prevents him from doing in

 13    the amended complaint certain things?

 14                MS. COSTELLO:     It was actually Magistrate Judge

 15    Kolar.

 16                THE COURT:     Okay.

 17                MS. COSTELLO:     Judge Van Bokkelen dismissed all the

 18    claims largely because plaintiffs had not alleged any present

 19    physical injury.     Plaintiffs then filed a motion to file an

 20    amended complaint and many of the same plaintiffs still did not

 21    allege a present physical injury.

 22          Magistrate Judge Kolar, in September of 2022, then held

 23    that Judge Van Bokkelen told those plaintiffs what they needed

 24    to do, they failed to do it in the amended complaint, and that

 25    was -- he held that they had lost their chance and they didn't

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  1    have a right to seek further leave to amend.

  2            So we believe, however, when plaintiffs actually got

  3    around to filing the amended complaint, after Magistrate

  4    Judge Kolar's order, some of those plaintiffs all of a sudden

  5    changed --

  6                 THE COURT:   I'm sorry to interrupt.      What did he

  7    actually order?

  8                 MS. COSTELLO:   He ordered a certain number of

  9    plaintiffs could allege a negligence claim because they had

 10    alleged present physical injury.        And I believe it was like a

 11    hundred -- and well over a hundred plaintiffs could not allege

 12    a negligence claim because their proposed amended complaint did

 13    not propose a present physical injury.

 14                 THE COURT:   Nevertheless, a second amended complaint

 15    does that?

 16                 MS. COSTELLO:   Yes.

 17                 THE COURT:   That's something I'll have to figure out.

 18    Okay.

 19            Let me just -- touching for a tiny bit on the substance,

 20    because I have glanced at the motions but that's all I have

 21    done.     Would you explain to me, like, what is this modified

 22    impact rule and bystander rule in a brief --

 23                 MS. COSTELLO:   So to state a negligent infliction of

 24    emotional distress claim in Indiana, we need to either satisfy

 25    the bystander rule or the modified impact rule.           I believe --

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  1    plaintiffs can correct me if I'm wrong -- they don't contend

  2    that they are stating a claim under the bystander rule.

  3          Is that correct?

  4                MR. FLORA:    That's correct.

  5                MS. COSTELLO:    So it really comes down to the

  6    modified impact rule.

  7                THE COURT:    What does that mean?      What is that rule?

  8                MS. COSTELLO:    That means that plaintiffs must have

  9    suffered a direct physical impact from defendant's conduct that

 10    then caused the emotional distress, and the parties dispute

 11    what is a sufficient direct physical impact.

 12                THE COURT:    Wow.   I'm surprised to hear that.

 13          So you can't have a negligent infliction of emotional

 14    distress claim unless you also were the person who was

 15    subjected to the underlying negligence, some outrageous

 16    behavior?

 17                MS. COSTELLO:    Well, so that's where the bystander

 18    rule comes in, if you didn't experience it but someone close to

 19    you did.    If you are a bystander to some accident, for example,

 20    and your child was killed, that would apply in that

 21    circumstance.

 22                THE COURT:    So let's take a situation where I own a

 23    home next to a site.      There's a polluter on the site.        They are

 24    discharging arsenic or some horrible substance.           The jig is up

 25    and the EPA does a search warrant and it's all discovered, the

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  1    bad things that have been going on.         I live next door.     I

  2    haven't been physically harmed, but I'm greatly concerned with

  3    what has taken place next door.         That wouldn't state a claim

  4    for negligent infliction of emotional distress because I

  5    haven't been impacted?

  6                 MS. COSTELLO:     You would have to show a direct

  7    physical impact, and our contention is that exposure is not

  8    enough.     Interestingly, the Supreme Court, in a slightly

  9    different context, has agreed that exposure is not enough.

 10                 THE COURT:     Okay.   That's something I have to dig

 11    into.

 12                 MS. COSTELLO:     That's the dispute.

 13                 MR. AMATORE:     Your Honor.

 14                 THE COURT:     I'll give you a minute to respond to

 15    that.

 16                 MR. AMATORE:     Did you inhale any of it, Your Honor,

 17    while you were the next-door neighbor?         If you inhaled it, you

 18    ingested it.     You have a direct physical impact, just so you

 19    understand our theory, ingestion.

 20                 THE COURT:     I understand.

 21                 MR. FLORA:     Your Honor, a couple of finer points on

 22    there.

 23                 THE COURT:     Just for the record, this is Mr. Flora

 24    talking?

 25                 MR. FLORA:     Yes, Your Honor.

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  1                THE COURT:    So my court reporter can keep you

  2    straight.

  3                MR. FLORA:    So one really quick fix I need on

  4    DuPont's statement there is the impact doesn't have to cause

  5    the injury.    In fact there's an Indiana Supreme Court case that

  6    really shows the scope of modified impact.          You have a woman

  7    who was with her friend --

  8                THE COURT:    That's this Community Health case?

  9                MR. FLORA:    No.   This particular case -- it might be

 10    Shuamber; it might be Conder v. Wood.         I'm forgetting the name

 11    of it.   The facts are pretty straightforward.

 12          You've got -- two persons are out.        One of them, the

 13    woman's friend, gets hit by a vehicle, is getting run over by a

 14    truck.   And so the woman, to convince the truck to stop running

 15    over her friend, to not hit her with the back tires, slams on

 16    the side of the door of the vehicle.         And the Indiana Supreme

 17    Court said there just needs to be some degree of an impact,

 18    doesn't have to cause harm.       That was an impact.

 19                THE COURT:    Why isn't that covered by the bystander

 20    component of this?

 21                MR. FLORA:    The way it all started was the law of

 22    negligence, was you need to suffer physical injury to get any

 23    emotional distress.      And then courts said that's a pretty harsh

 24    standard so made two carve-outs.        One was the modified impact

 25    rule, that there had to be some degree of an articulable

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  1    impact.    We can come back to what constitutes an impact.

  2          But the bystander rule was a separate thing which was if

  3    you have a parent that watches a child get run over but the

  4    parent is not about to be hit by the vehicle, doesn't touch the

  5    vehicle, it doesn't meet the modified impact rule.           But, for

  6    the love of God, that parent should be able to recover.

  7                THE COURT:    They're a bystander.

  8                MR. FLORA:    And that's the bystander.

  9                THE COURT:    Okay.   I'm understanding.

 10                MR. FLORA:    And the bystander rule requires you to be

 11    closely related.     There's a lot of additional nuances to try to

 12    keep it from being too expansive.         They don't want somebody to

 13    get run over in Times Square and then all of a sudden you've

 14    got 10,000 people from a building watching that can sue.

 15                THE COURT:    I understand.

 16                MR. FLORA:    That's why the bystander is so narrow.

 17                THE COURT:    Okay.

 18          All right.    Let me just ask Mr. Connor.       Do you want to

 19    weigh in on any of this?

 20                MR. CONNOR:    Your Honor, I don't -- I think I am in

 21    alignment with the presentation that you have heard from

 22    Ms. Costello in terms of our understanding.          Obviously, we have

 23    briefed those questions.       We'll address --

 24                THE COURT:    This is all teed up for me in the motions

 25    that were filed and are ripe as of January of this year,

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  1    January 17, right?

  2                 MR. CONNOR:     Correct.

  3                 MS. COSTELLO:     Correct.

  4                 MR. FLORA:    Correct, Your Honor.

  5                 THE COURT:    Anything else anybody wants to tell me

  6    about the Holiday case, or does that sort of summarize where we

  7    are at on this thing?

  8                 MR. FLORA:    I think it summarizes where we are at,

  9    Your Honor.

 10                 THE COURT:    Okay.   So a lot of this might get

 11    repetitive, but it's helpful for me.

 12            Let's talk about -- I'm just going chronologically based

 13    on the docket, you know, the cause numbers.          So the next case

 14    was 2:17-CV-193, which is the Barbee case.          And, as I

 15    understand it, again, that's Mr. Flora.          And the only two

 16    defendants left are, again, DuPont and the Hammond Group; is

 17    that right?

 18                 MR. FLORA:    Correct, Your Honor.

 19                 THE COURT:    Same exact posture as the Holiday case;

 20    is that right?

 21                 MR. FLORA:    At this point, yes.

 22                 THE COURT:    All right.     Let me just check my notes on

 23    this.

 24            This one -- this has 19 plaintiffs?

 25                 MR. FLORA:    Yes, I believe that's correct.

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  1                 THE COURT:    Are there any -- just so I'm clear, on

  2    the ones that you represent, are there any overlap in the

  3    plaintiffs?     Like, for some reason, have you named the same

  4    plaintiff in more than one lawsuit?

  5                 MR. FLORA:    At one point there were two individuals

  6    in the Holiday case that were also in, I believe, the Baker

  7    case.     That has been cleaned up.        There are no longer any that

  8    are overlapping amongst our cases.

  9                 THE COURT:    Okay.      So, is that right, 19 plaintiffs

 10    left in the Barbee case?          Does that sound right?

 11                 MS. COSTELLO:     Yes.

 12                 MR. FLORA:    That sounds right, Your Honor.

 13                 THE COURT:    And they're not named anywhere else, you

 14    are representing to me?

 15                 MR. FLORA:    Correct, not in a federal case.       All of

 16    our clients are also in a state case that's --

 17                 THE COURT:    I want to talk about that too because

 18    that was one of my questions.           Let me segue.

 19            Is there anything else to say about the Barbee case other

 20    than it's fully briefed as of January 17 and you are waiting

 21    for a ruling from me?        Is everything in agreement with that?

 22                 MS. COSTELLO:     That's correct.

 23                 MR. FLORA:    Yes.

 24                 MR. CONNOR:     Yes, Your Honor.

 25                 THE COURT:    So let's just segue for a minute.

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  1          Who's involved in the -- there's a state case?          Tell me

  2    about all this.

  3                MR. FLORA:    Yes, Your Honor.     So we couldn't sue the

  4    State of Indiana in federal court due to sovereign immunity so

  5    we have a separate case that is just against state governmental

  6    entities -- well, not -- state and local governmental entities.

  7    It is purely governmental entities, purely Indiana state law

  8    that is proceeding in the Superior Court in Lake County, which,

  9    for several years, we contested these cases should be as well.

 10                THE COURT:    Boy, I wish they were.      That's just an

 11    editorial comment.

 12                MR. FLORA:    My apologies, Your Honor.

 13                THE COURT:    So let me just ask:      The housing complex

 14    that we're talking about here --

 15                MR. FLORA:    Yes.

 16                THE COURT:    -- has that been razed at this point?

 17                MR. FLORA:    The West Calumet Housing Complex is gone

 18    now, yes.

 19                THE COURT:    Was that a Section 8, HUD housing?

 20                MR. FLORA:    Yes, it was.

 21                THE COURT:    Was the federal government involved in

 22    being sued at all at one point, or are they involved in these

 23    cases?

 24                MR. FLORA:    They are not involved in any of our

 25    cases, Your Honor.

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  1                 THE COURT:   Okay.   Why is the state involved then?

  2    I'm not understanding.

  3                 MR. FLORA:   The state is involved in those cases

  4    because there was a complex network of -- let's take a step

  5    back.     All of this is on top of the U.S.S. Lead Superfund site,

  6    so all of these were, for years, subject to some degree of

  7    oversight by the EPA, along with the State of Indiana's Indiana

  8    Department of Environmental Management.

  9            So they were getting information about what was going on

 10    on the property that we allege was not being shared with our

 11    clients and ultimately led to people being housed on this

 12    property, people being exposed to the lead in the soil, being

 13    exposed to the lead in the soil at the school as well because

 14    we allege, at least with the state entities, they knew and

 15    didn't pass the information along.

 16            In fact, the catalyst for all of this was the letter that

 17    came from Mayor Anthony Copeland in June of 2016 where -- what

 18    led him to do that was he all of a sudden was given information

 19    from the EPA that the amount of lead on the site was not just

 20    poor soil quality, it was at a hazardous level that was posing

 21    immediate dangers to all the people on the property.

 22                 THE COURT:   Okay.   But this was a Superfund site

 23    going back to like 2009, right?

 24                 MR. FLORA:   It was to some degree that it needed to

 25    be remediated because the soil was deemed unusable.           Maybe you

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  1    couldn't have farmed it, maybe you shouldn't build a house on

  2    it, but it was not, at that point, determined that people

  3    couldn't live on it, that it was such a high level.

  4                 THE COURT:   But the site of the housing complex, the

  5    apartment complex --

  6                 MR. FLORA:   Sure.

  7                 THE COURT:   -- was that actually where Atlantic

  8    Richfield had their plant?

  9                 MR. FLORA:   Yes, it was, Your Honor.       And that's why

 10    they are out of our case now.

 11                 THE COURT:   Based on those rulings that --

 12                 MR. FLORA:   Yes.

 13                 THE COURT:   I understand that.

 14                 MR. FLORA:   Yes.

 15                 THE COURT:   Okay.   So we have that property where the

 16    apartment complex sat.

 17          What's there now, by the way?       Is it just a brown field

 18    basically?

 19                 MR. FLORA:   To the best of my knowledge, it's just a

 20    brown field at this point.

 21                 THE COURT:   Okay.   And then there's like, I'll call

 22    it, a penumbra around it where there were individual housing

 23    and an elementary school?

 24                 MR. FLORA:   And the school was also on the site.

 25                 THE COURT:   Has that been razed?

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  1                MR. FLORA:     I believe the school has been razed, yes.

  2                THE COURT:     Okay.   And so how many -- how far from

  3    the housing complex does this go out in a perimeter?

  4                MR. FLORA:     Honestly, I don't know because almost all

  5    of my clients are on the housing complex so that's been my

  6    focus.   As far as what it's reached, the houses beyond that,

  7    perhaps Mr. Amatore --

  8                MR. AMATORE:     I have one, Judge, on -- roughly

  9    neighbors to the old DuPont property.         And, again --

 10                THE COURT:     So is this like within a block or

 11    something of where the property -- the housing complex used to

 12    be?

 13                MR. AMATORE:     I don't know if I can give you that

 14    kind of precision, but, yes, close, you know, to consider

 15    adjacent -- roughly adjacent property to survive a motion to

 16    dismiss for nuisance.

 17                THE COURT:     Okay.

 18                MR. AMATORE:     Not to survive it, Judge, but to be

 19    allowed to replead it.

 20                THE COURT:     Sir, you represent the property owners,

 21    the adjacent property owners, correct?

 22                MR. CHIZEWER:     I do, Your Honor.

 23                THE COURT:     Can you help me out on this?

 24                MR. CHIZEWER:     So they're blocks.     I mean, in terms

 25    of -- I represent the owners of 39 different properties that

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  1    are within blocks of the public housing complex that has since

  2    been razed.

  3                  THE COURT:     Okay.

  4                  MR. CHIZEWER:     This is properties that were tested

  5    and found to be contaminated.

  6                  THE COURT:     We'll get to your case in a minute but

  7    just so I'm understanding the layout here.

  8          Okay.     So that state case, where is it at?

  9                  MR. FLORA:     It is still in discovery, Your Honor.

 10                  THE COURT:     Okay.

 11                  MR. AMATORE:     It is partially in the pleading stage

 12    as well, Judge.

 13                  THE COURT:     When was that filed?

 14                  MR. AMATORE:     Just to say -- in the state case, on

 15    January 20, the plaintiffs, with leave of Court, filed a motion

 16    for leave to file a second amended complaint.

 17                  THE COURT:     When was that?    I'm sorry.

 18                  MR. AMATORE:     That was filed on January 20 in the

 19    state case by the Adams plaintiffs so there's a pending motion

 20    for leave to file a second amended complaint.

 21          There was dismissal in the case early on -- well, that's

 22    in the state case.         But, you know, we're anticipating not being

 23    an issue at least for a few months.           I'm sure that's going to

 24    be briefed.

 25                  THE COURT:     Is it just the state is the defendant or

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  1    are other people defendants?

  2                MR. AMATORE:     No, the East Chicago Housing Authority.

  3                THE COURT:     Okay.

  4                MR. AMATORE:     Mayor Anthony Copeland.      I think

  5    Tia Cauley as a representative of that agency.

  6                THE COURT:     Yeah.

  7                MR. AMATORE:     There's more, Judge.

  8                THE COURT:     Okay.   All right.

  9                MR. FLORA:     Your Honor, to be clear, there's two

 10    state cases.     Mr. Amatore has the Allen case.       We have a single

 11    case over there.     The two have been consolidated for purposes

 12    of discovery.     Our case was filed earlier.       Things are

 13    slightly --

 14                THE COURT:     Who is your judge over there?

 15                MR. AMATORE:     Scheele, formerly Sedia, but

 16    Judge Scheele has now taken over that case.

 17                THE COURT:     Okay.   So is there anything else we need

 18    to talk about relating to the Barbee case?          Does that pretty

 19    well tee it up from where we are at?

 20                MR. FLORA:     Yes, Your Honor.

 21                THE COURT:     Okay.

 22          So now the next one was your case.        I'm going to mess this

 23    name up again.

 24                MR. CHIZEWER:     My last name?

 25                THE COURT:     Yes.

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  1                MR. CHIZEWER:     Chizewer.

  2                THE COURT:     I'm sorry.

  3                MR. CHIZEWER:     No worries.

  4                THE COURT:     How did we get here?     We're also, what,

  5    six years in here.       Give me your perspective.

  6                MR. CHIZEWER:     I would like to explain that,

  7    Your Honor.

  8          First of all, I think it is important to understand that

  9    we're handling this case completely pro bono.          We are not on a

 10    contingency basis or anything, and so the damages we're seeking

 11    are limited.     We weren't prepared to file claims for personal

 12    injury, so our -- we have no personal injury claims whatsoever

 13    in this case.     We don't think personal injuries have anything

 14    to do with our case.

 15          We filed our case in 2017, in October of 2017.          There was

 16    a fully briefed motion to dismiss by April of 2018.           It took

 17    the Court three years -- over three years to resolve that.

 18                THE COURT:     Yeah.

 19                MR. CHIZEWER:     We tried to do discovery in the

 20    meantime.     The defendants, of course, were not willing to

 21    voluntarily participate in discovery; so we filed a motion

 22    which -- to have a Rule 16 conference which was denied.            And so

 23    there's nothing we could do.

 24          Even after -- finally, in July of 2021 when the motion was

 25    partially granted and partially denied and we were allowed to

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  1    proceed with the bulk of our claims, the defendants still

  2    didn't agree to participate in a Rule 26(f) conference so we

  3    had to file another motion, and finally that was granted and a

  4    Rule 16 conference was held.       And we had a -- we embarked on

  5    discovery.     So we are in discovery right now.

  6                 THE COURT:   You must be looking at me like what in

  7    the world is this guy talking about, complaining about how long

  8    these have taken.

  9                 MR. CHIZEWER:   Your Honor, you may recall -- and the

 10    reason we got involved in this case is that our firm helped out

 11    two, you know, nonprofit environmental law firms.           And when

 12    certain residents were trying to intervene in the CERCLA case

 13    that was going on --

 14                 THE COURT:   Yeah.   That was in front of me, right?

 15                 MR. CHIZEWER:   That was in front of Your Honor.

 16          And our firm helped out with the University of Chicago

 17    Environmental Law Clinic, Northwestern Environmental Law Clinic

 18    and the Schriver Center.

 19          That motion Your Honor ultimately denied, the right to

 20    intervene, but we felt like some of the homeowners weren't

 21    getting justice, and so we wanted to help.          They came to us and

 22    asked if we could do anything else for them, so we agreed to

 23    take on this limited case where we are only seeking,

 24    number one, the emotional distress damages from learning that

 25    your property has been contaminated likely for decades after

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  1    your family has been there and playing outside, et cetera.             Not

  2    related to any physical injury, just the emotional trauma that

  3    you realize for decades your property has been contaminated.

  4    That's number one, and, number two, diminution and property

  5    value.

  6                 THE COURT:   Have the properties, in fact, gone down

  7    in value?

  8                 MR. CHIZEWER:   We believe so.

  9                 THE COURT:   Were these all homes that were built

 10    post-World War II, I assume?

 11                 MR. CHIZEWER:   Yeah.    Most of them -- many of them

 12    were purchased, at least, in the 1950s.         And just so Your Honor

 13    knows also, this is an enormous -- we have 39 properties, 45

 14    plaintiffs.     This is an enormous undertaking.       Many of the

 15    owners of these properties are elderly, some in their 80s, 90s.

 16    So it's difficult to communicate with them.          In the three years

 17    that we were waiting, four of my clients have died, so we have

 18    the complications with that.

 19          So, you know, I understand that the case is old; but, you

 20    know, as we've explained, I don't think that's at all on us.

 21          But it is going to take us a while just because of the

 22    communication.     A lot of them -- some of them -- I shouldn't

 23    say a lot.     I don't want to exaggerate.      Several of them don't

 24    have email.     They have to use their children to communicate.

 25    So it is a big undertaking, Your Honor.

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  1                THE COURT:    I appreciate you doing it.

  2          That's one of the reasons I sort of did the mea culpa.             I

  3    understand this isn't just counsels' fault.          It's a lot --

  4    anyway.    You understand.

  5                MR. CHIZEWER:    Yes.

  6                THE COURT:    Let me ask you, in particular.        I didn't

  7    understand why -- so we have -- is it Mr. Alvarez?           Is that a

  8    man, Cristobal?

  9                MR. CHIZEWER:    Yes, a man and a woman.

 10          I have to be honest, Your Honor.        I wasn't aware until

 11    recently that he was even a part of the other case, but I

 12    assume the reason for that is because we are not handling any

 13    personal injury claims.      So if he or she wants to make personal

 14    injury claims, they would have to do that with another firm.

 15                THE COURT:    All right.    It's not ideal, but I

 16    understand.

 17                MR. CHIZEWER:    Right.

 18          Then just -- I'm sorry.

 19                THE COURT:    So what has been going on in the case?

 20    As I understand, this is the one case that's through the

 21    pleadings, right?

 22                MR. CHIZEWER:    Correct.

 23                THE COURT:    And you're in discovery?

 24                MR. CHIZEWER:    Correct.

 25                THE COURT:    Talk to me a little bit about what's been

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  1    going on in discovery.

  2                MR. CHIZEWER:    We served document requests and

  3    interrogatories, as did the defendants.         We've had many, many

  4    meet-and-confer conferences about what documents are going to

  5    be produced, lots of letters going back and forth.           We did have

  6    our first deposition earlier this week of one of our clients.

  7    There are more scheduled.

  8          So we're trying to -- and, you know, there's disputes

  9    about, for example, whether medical records are discoverable

 10    given that we're not suing for any personal injury or any

 11    emotional distress that's connected to any personal injury.              So

 12    that may or may not wind up before the Court if we can't reach

 13    some kind of compromise on that.

 14          So there's been -- you know, the defendant says they have

 15    the right to do -- are fighting this case very hard.            They have

 16    said they want to take -- you know, originally, they wanted to

 17    take over 225 depositions just in our case alone.           We do have

 18    45 individual plaintiffs, but -- and, again, the damages --

 19    just to be completely frank, the damages we are seeking,

 20    ultimately -- I'm not saying what our clients are ultimately

 21    entitled to, but we didn't file this case for them to get rich

 22    or for anybody to get a windfall.        But the defendants -- you

 23    know, they want to fight scorched earth and not discuss

 24    settlement, so that's where we are.

 25                THE COURT:    What are these homes generally worth?

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  1    Are these $150,000 homes?         $200,000 homes?   Something like

  2    that?

  3                 MR. CHIZEWER:   Let me just -- I'll give you an

  4    example, Your Honor, that one of the homes was purchased in

  5    1955 for $8500.

  6                 THE COURT:   Okay.

  7                 MR. CHIZEWER:   If it had received the normal

  8    appreciation of an Indiana home throughout the state, might be

  9    3 percent, I think that might bring you to an expected sale of

 10    80 to $85,000.     They sold their home in 2019 for $20,000.

 11            That's not scientific, that's totally anecdotal.

 12                 THE COURT:   No, I understand.

 13                 MR. CHIZEWER:   I understand there's lots of -- it's

 14    going to be complicated to try and prove diminution of value.

 15    I'm sure there's a lot of arguments why -- other reasons why in

 16    this particular area the homes may have declined.           I know those

 17    arguments are going to be made.         But when you find out your

 18    home has been contaminated with lead and arsenic, I would think

 19    that's going to reduce the value significantly.

 20                 THE COURT:   So when you say the homes were

 21    contaminated, what exactly do you mean by that?

 22                 MR. CHIZEWER:   So the EPA came -- a lot of this --

 23    all of this really happened -- sort of the threshold event --

 24    because even though this was declared a Superfund site -- I

 25    thought it was 2012.      I may be wrong about that.

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  1          Many of the residents and community didn't know they were

  2    living on a Superfund site even after that was declared.            But

  3    sometime in 2016, the Indiana Public Housing Authority told the

  4    people who lived in the public housing complex, who many of

  5    them lived there since the '70s, that they had 90 days to find

  6    a new home because their homes were so contaminated.

  7          That's sort of what set off the CERCLA case, the motion to

  8    intervene, ultimately property remediation.          But the EPA came

  9    out and then they tested the soil, the ground soil, at a lot of

 10    the nearby homes.     And then they told people what the results

 11    of that testing was.      And in many cases, either the homes or

 12    the homes next door to them, the first, you know, 12 inches,

 13    whatever it was, of the ground soil was contaminated with lead

 14    and sometimes at four or more times the healthy level and

 15    contaminated with arsenic right in their backyard.

 16                THE COURT:    Does this affect the ground water?

 17                MR. CHIZEWER:    Soil.

 18                THE COURT:    Just soil?

 19                MR. CHIZEWER:    Just soil.     That's what the testimony

 20    is.

 21                THE COURT:    Okay.   Okay.

 22          So, I mean, you have 45 plaintiffs; is that right?

 23                MR. CHIZEWER:    Yeah.     Four of them -- four of

 24    those -- just to be clear, four of those have died, and we're

 25    trying to --

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  1                 THE COURT:   And you're trying to figure out who is

  2    the representative?

  3                 MR. CHIZEWER:   Exactly.

  4                 THE COURT:   Because some died without a will.

  5                 MR. CHIZEWER:   Correct.

  6                 THE COURT:   And it's a mess.

  7                 MR. CHIZEWER:   Yeah.

  8                 THE COURT:   Yeah.   Okay.

  9          But all in all, it's not a case -- I don't mean to be

 10    disrespectful, but it's not a high-dollar case, right, I mean,

 11    in the bigger look at things?

 12                 MR. CHIZEWER:   Look, we tried to -- I don't know how

 13    you put -- it's difficult -- I'm being very transparent because

 14    I have nothing to hide.      It's difficult to put a value on the

 15    emotional distress that somebody faces when they realize that

 16    they and their children have been playing in soil, planting

 17    plants.     It's difficult to put a dollar value on that.

 18          I will tell you we tried to look at -- I think we looked

 19    at -- we found 70 emotional distress cases -- judgments in

 20    Indiana.     The average emotional distress damage value was over

 21    $300,000.

 22                 THE COURT:   But that's usually in conjunction with

 23    some underlying harm, physical harm.         And that's normally

 24    where -- I mean, when -- I think.

 25                 MR. CHIZEWER:   As I said -- you know, I'm not going

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  1    to prejudge the total damages now.        There will be experts.       We

  2    need to know how much the property is down in value.            We,

  3    obviously, had to allege, which we feel we did in good faith,

  4    that there was at least $75,000 of damages to each person.

  5           But as I said, this is not a case where we're hoping to --

  6    that our clients are hoping to retire on.          Obviously, we are

  7    not.    We are doing it for free.

  8                THE COURT:    Okay.   That's very helpful.      Thank you.

  9           So I want to hear from both Ms. Costello and Ms. Reiter

 10    about your perspective of where we are at on this case and --

 11    because my message to Judge Kolar is going to be we're going to

 12    get this going.     Like, we're not foot dragging any longer on

 13    discovery and messing around with writing letters.           We're

 14    getting going.

 15           So, Ms. Reiter, talk to me a little bit about your

 16    perspective on this case.

 17           Is this the only case that ARCO is left in?

 18                MS. REITER:    Atlantic Richfield is in this case and

 19    the Adams case.

 20                THE COURT:    Okay.   So when I say ARCO, is that

 21    different from Atlantic Richfield?

 22                MS. REITER:    No, it is referring to the same entity.

 23                THE COURT:    Okay.

 24                MS. REITER:    The name is Atlantic Richfield Company.

 25                THE COURT:    Understood.    From a kid, I used to go to

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  1    the ARCO station.

  2                  MS. REITER:     Right.   Understood.

  3                  THE COURT:     That's what I'm thinking.

  4          Okay.     So what's your perspective on this, and when can we

  5    reasonably expect discovery to close and get this thing briefed

  6    up on whatever dispositive motions?

  7                  MS. REITER:     Certainly, Your Honor.

  8          I hear your message about moving the case.          I think this

  9    case is moving.      Discovery has been proceeding a pace as

 10    Mr. Chizewer indicated.         We did start plaintiff depositions

 11    earlier this week.         We have a number more that have been

 12    scheduled for next month, and we expect to continue to schedule

 13    additional plaintiff depositions.          We have produced a

 14    significant number of documents.          And as Mr. Chizewer knows, we

 15    are reviewing additional documents to be produced.

 16          The letters that Mr. Chizewer referenced are our effort to

 17    resolve disputes between the parties about what material is

 18    discoverable, and I think the parties have been working well

 19    together to try to resolve those disputes so that we don't have

 20    to go to Magistrate Judge Kolar with a huge number of disputes.

 21    That said, of course, we anticipate there may be certain issues

 22    we can't work out, but so far we have been able to resolve most

 23    of our issues.

 24          I also agree with Mr. Chizewer that the case is going to

 25    take time to go through discovery because there are 41

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  1    individual plaintiffs plus the four decedents that Mr. Chizewer

  2    referenced.     And then for each individual plaintiff we have to

  3    depose additional witnesses, and Mr. Chizewer understands this

  4    and agreed to this, including real estate agents, prospective

  5    buyers that the plaintiffs allege refused to proceed with the

  6    sale because of the contamination.        We have to depose family

  7    members.

  8                THE COURT:    They are making these disclosures?

  9                MS. REITER:    Exactly, Your Honor.

 10          For each plaintiff, it could be as many as four additional

 11    witnesses that we have to depose.        So I understand that the

 12    number of depositions sounds high, but it actually makes

 13    complete sense in this case, and I think that's why plaintiffs

 14    agreed to it.

 15          Plaintiffs and the defendants have agreed to a proposed

 16    close of fact discovery of August next year.          We think, given

 17    the amount of time that this has taken so far and the number of

 18    depositions that we have to schedule, that makes sense; and so

 19    that is the proposal that we have presented to Magistrate

 20    Judge Kolar in the parties' joint status report that was

 21    submitted and that Your Honor perhaps has reviewed.

 22          Just to respond, if I may, to a couple of Mr. Chizewer's

 23    points.

 24          Of course, it won't surprise you, Your Honor, that we

 25    dispute the homes have decreased in value.          I don't want to get

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  1    into too much of the substance here, although Your Honor has

  2    questions.     But the plaintiff this week that we deposed didn't

  3    know any of the facts, supposedly, supporting the claim that

  4    the property had decreased in value and disputed much of the

  5    information that was in his interrogatory responses.            So we

  6    have real concerns and questions about the claims in this case.

  7          Also, the plaintiffs are seeking very significant damages

  8    for emotional distress.       No settlement demand has been made,

  9    but there were calculations provided in responses to discovery.

 10    And they are seeking a lot of money, so I don't think this is

 11    the limited case.

 12                 THE COURT:    Is it a case you are interested in trying

 13    to get resolved?

 14                 MS. REITER:    Your Honor, I think at this point it is

 15    not clear to us that there are viable claims, and so, you know,

 16    certainly Mr. Chizewer is welcome to make a settlement demand.

 17    But we need to go through the process and determine whether

 18    these plaintiffs actually have viable claims here.           We think

 19    early discovery is going to show that many of them do not,

 20    perhaps all of them do not.

 21          And one important fact here is that all of the plaintiffs'

 22    homes have already been remediated by EPA.

 23                 THE COURT:    How old was that person you deposed?

 24                 MS. REITER:    I'm sorry?

 25                 THE COURT:    How old was the person that you deposed?

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  1                 MS. REITER:    Forty-eight.

  2                 THE COURT:    How long had they lived at that

  3    property --

  4                 MS. REITER:    Three years.

  5                 THE COURT:    -- do you remember?

  6                 MS. REITER:    Three years.

  7                 THE COURT:    Did they buy the property after the

  8    disclosure?

  9                 MS. REITER:    It's a complicated situation,

 10    Your Honor.     It actually is the plaintiff's father's home, not

 11    the plaintiff's home.       The plaintiff had --

 12                 THE COURT:    So he got it from his dad when his dad

 13    died?

 14                 MS. REITER:    No.    His dad is still alive, and his

 15    father retained a life estate in the property.           But upon the

 16    father's death, it was supposed to transfer to the plaintiff

 17    and three of his siblings.

 18                 THE COURT:    Uh-huh.

 19                 MS. REITER:    And so that was the interest in the

 20    property.

 21                 THE COURT:    Okay.

 22                 MS. REITER:    But as I was noting, Your Honor, all of

 23    the homes in the area have been remediated by EPA.           EPA has

 24    said that further remediation would be inappropriate here.              The

 25    soil is clean.     There's no work to be done, and yet the

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  1    plaintiffs in their complaint are seeking costs for additional

  2    remediation and testing of the properties.          We don't understand

  3    that.

  4            In addition, Mr. Chizewer just said that this case is only

  5    about soil in response to your ground water question.            But if

  6    you look at the complaint, Your Honor, the complaint says this

  7    is a case about ground water and that they want remediation for

  8    their ground water.        So the complaint is quite sprawling.

  9            And one of the things we intend to do through early

 10    discovery is figure out what actually is at issue here.

 11    Because if you read the complaint, it's really not clear.

 12    There are 10 different contaminants that are listed in the

 13    complaint.     We have no understanding of why they think those

 14    contaminants beyond the two the EPA was focused on are even at

 15    issue in this case here.

 16                 THE COURT:     So can I just ask:    When did Atlantic

 17    Richfield vacate that property?

 18                 MS. REITER:     1946.

 19                 THE COURT:     So this was -- reading the Seventh

 20    Circuit opinion on the federal officer issue, this was all sort

 21    of World War II-related munition site or whatever?

 22                 MS. REITER:     Correct, Your Honor.    The facility made

 23    a number of wartime goods for the World War II war effort,

 24    which is why we are in this Court.

 25                 THE COURT:     So then when did -- when they vacated the

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  1    property, who did it go to at that point?

  2                 MS. REITER:     They sold it to a third party that isn't

  3    a party to this case.

  4                 THE COURT:     That's not part of the case?

  5                 MS. REITER:     Correct.

  6                 THE COURT:     Okay.   That's very helpful.

  7          Anything else you want to add from your perspective?

  8                 MS. REITER:     No, Your Honor.

  9                 THE COURT:     All right.

 10          Ms. Costello, let me ask, from your point of view, does

 11    that sort of -- am I -- are you on this case?

 12                 MS. COSTELLO:     Yes, we are in this case.

 13                 THE COURT:     I'm getting confused here.

 14          Does that sort of capture your position too, or do you

 15    want to be heard on anything else?

 16                 MS. COSTELLO:     That captures our position as well.

 17    Thank you.

 18                 THE COURT:     Okay.   How is it that DuPont -- when were

 19    they involved in the property?           Why are they in the case?

 20                 MS. COSTELLO:     They have never been involved in that

 21    specific property.        DuPont owned and operated on a parcel of

 22    land that's adjacent to the U.S.S. Lead Superfund site, and the

 23    complaints in these cases generally complain about specific

 24    products that were made between 1910 and 1949 that contain lead

 25    and arsenic.     DuPont continued to make different products there

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  1    up until about the early '90s, but those products aren't really

  2    at issue.

  3                THE COURT:    Do they own the property any longer?

  4                MS. COSTELLO:    No, they no longer own the property.

  5                THE COURT:    Okay.   So did you all make a federal

  6    officer issue?

  7                MS. COSTELLO:    We did, yes.     The property was

  8    effectively taken over by the federal government.           The federal

  9    government built a plant and the specific product was made

 10    there and that product resulted in waste streams that included

 11    lead and arsenic and so that's why the Seventh Circuit upheld

 12    federal officer removal.

 13                THE COURT:    Okay.   That's really interesting.

 14          Thank you.

 15          Do you want to respond to any of that?

 16                MR. CHIZEWER:    All I would say, Your Honor, is,

 17    again, many of our clients in this case are elderly.            They are

 18    of limited means.     They don't necessarily know the value of

 19    their property.

 20          There was an administrative record and a record of

 21    decision issued by EPA which, according to EPA, makes it clear

 22    that the lead and arsenic that's been found on these people's

 23    properties was -- that both ARCO, as the successor, and DuPont

 24    are responsible, at least in part.

 25                THE COURT:    But it has been remediated in the

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  1    meantime?

  2                 MR. CHIZEWER:   It has been remediated.       That

  3    obviously doesn't -- first of all, there is the issues of the

  4    loss of the property, you know, the enjoyment of the property

  5    during the remediated process.

  6                 THE COURT:   I understand that.

  7                 MR. CHIZEWER:   And it has been remediated with

  8    respect to those -- it was only tested with respect to two of

  9    the contaminants even though the administrative record shows

 10    that there may have been many more contaminants on there.

 11            Nevertheless, Your Honor, I've made clear -- obviously,

 12    our complaint made -- wanted to make all the claims we could

 13    possibly name.     I have made it crystal clear to the defendants

 14    what it is the case is about and what we're seeking here, and

 15    it has to do with the emotional distress from learning that

 16    their ground soil or their neighbor's ground soil has been

 17    contaminated with lead and arsenic way exceeding the health

 18    levels and the diminution of property value that resulted from

 19    that.     Because who wants to live there?

 20                 THE COURT:   I understand.

 21            What I want to make sure I'm understanding -- presently,

 22    are you contending that that contamination continues on these

 23    properties or has it, in fact, been, to your satisfaction,

 24    remediated by the EPA?

 25                 MR. CHIZEWER:   Some people believe that based on what

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  1    they saw happening at their property that it may still be

  2    contaminated, but we don't know that to be true.

  3                THE COURT:    You don't know that?

  4                MR. CHIZEWER:    Right.

  5                THE COURT:    And you have not done subsequent testing?

  6                MR. CHIZEWER:    We have not done that, Your Honor.

  7                THE COURT:    Okay.

  8                MS. COSTELLO:    Your Honor, may I clarify?

  9                THE COURT:    Sure.

 10                MS. COSTELLO:    Mr. Chizewer suggested that the CERCLA

 11    liability suggests that Atlantic Richfield and DuPont have been

 12    found to have caused the contamination, but that's not the

 13    standard under CERCLA.      CERCLA is a specific statutory scheme.

 14    It is designed -- liability under CERCLA is not --

 15                THE COURT:    I fully understand that.

 16                MS. COSTELLO:    I just want to make sure that's clear

 17    for the record.

 18                MR. CHIZEWER:    Obviously, we have to prove it.        We

 19    can't just --

 20                THE COURT:    Rely on that.     I understand.

 21          Let's go to the Baker case here because I'm going to run

 22    out of time.    I have to go.     My wife is going to kill me.

 23          So the Baker case.     We're back to you, Mr. Flora, correct?

 24                MR. FLORA:    Yes, Your Honor.

 25                THE COURT:    Let me just get to my notes here.

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  1          Okay.     And, again, you, Ms. Costello, and Mr. Connor,

  2    correct?

  3                  MR. CONNOR:    Correct.

  4                  THE COURT:    Again, just give me a quick synopsis of

  5    where you are on that case.

  6                  MR. FLORA:    Basically, at this point, we are in the

  7    exact same spot we are with Holiday and Barbee.           There's

  8    approximately 40 plaintiffs in that case.

  9                  THE COURT:    Okay.   And fully briefed motions to

 10    dismiss as of January of this year, right?

 11                  MR. FLORA:    As of January 17.

 12                  THE COURT:    Just a couple weeks ago, or a week ago.

 13          Mr. Connor, do you want to add anything about what's going

 14    on in that case, anything unique that you think is important

 15    that I know about?

 16                  MR. CONNOR:    No, Your Honor.

 17          From my perspective, the Baker case, aside from the fact

 18    it is a different grouping of individual plaintiffs,

 19    procedurally, is in the same place as the cases we have been

 20    talking about, aside from the case that has the class action

 21    claim, which is the Allen case.

 22                  THE COURT:    Can you give me just a little bit of

 23    insight?      I now have a little bit of insight about ARCO and

 24    DuPont and their role.        Can you just give me a little

 25    background information on what is the Hammond Group?            What did

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  1    they do?     Just give me a little information.

  2                 MR. CONNOR:    Sure.   Your Honor, the Hammond Group is

  3    a company that has a couple of facilities which are quite far,

  4    relatively speaking, from the sites at issue here, the housing

  5    complex and the school.

  6          The Hammond Group facilities, I think -- I tried to

  7    eyeball it on Google Maps -- is about a mile-and-a-half as the

  8    crow files south of the sites.

  9          The Hammond Group has varied a little bit over time, but

 10    they are in the business of producing lead oxides.           Lead oxides

 11    are used for various purposes largely involving batteries.

 12          In that process, the lead is the product.          It is not the

 13    byproduct.     So the way they do their business is such that lead

 14    is captured, used, and sold, not emitted in large quantities.

 15    So I think -- you know, we believe that as things go forward,

 16    if they go forward, we'll find that it's probably physically

 17    impossible that emissions of any sort from the Hammond Group a

 18    mile-and-a-half away could have found their way onto the

 19    properties at issue here.

 20                 THE COURT:    Do they sill operate at the site?

 21                 MR. CONNOR:    They do, Your Honor.

 22                 THE COURT:    When I say "the Hammond Group," does that

 23    capture a number of different defendants in the case, or is

 24    that just an umbrella?

 25                 MR. CONNOR:    Yes.

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  1                THE COURT:    I don't understand.

  2                MR. CONNOR:     There are four defendants that we

  3    typically just aggregate for purposes of briefing.           The Hammond

  4    Group and Hammond Lead are the two that are really operating in

  5    the area.    The other one produces stabilizers.         I don't think

  6    they use lead anymore for that.          At one time I believe they may

  7    have for purposes of, I think, PVC production -- or supplying

  8    in the PVC production process.

  9          The other ones are not really ongoing enterprises.

 10    Halstab, I believe, was really just a shell company that was

 11    created at one time and never really used for anything, and

 12    then Halox was dissolved over 10 years ago.

 13                THE COURT:    Okay.

 14                MR. CONNOR:     We haven't concerned ourselves too much

 15    with which ones are the real entities, at least not yet.            But I

 16    think they -- in terms of the allegations being made, we've, at

 17    least for purposes of briefing on the pleadings, treated them

 18    as a single enterprise.

 19                THE COURT:    Okay.   That's helpful.     Thank you.

 20          So, Ms. Costello, do you want to weigh in on anything as

 21    it relates to this case?       Same posture?

 22                MS. COSTELLO:     Correct.

 23                THE COURT:    So on all of these cases where there's

 24    the pending motion just in the last couple of weeks that's now

 25    in my bailiwick, do they all argue the same basic points?

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  1                MR. FLORA:     Yes, Your Honor.

  2                THE COURT:     Is there anything unique about the

  3    briefing in any one of them that would -- I don't have to issue

  4    four opinions?     I would like to just consolidate this for

  5    purposes of, you know, the motions to dismiss.

  6                MS. COSTELLO:     The only clarification I would make is

  7    there are some arguments that apply only to specific

  8    plaintiffs.    So it's not like the arguments apply to all

  9    plaintiffs across the board.          So there is, unfortunately,

 10    Your Honor, some parsing that needs to be done to specific

 11    plaintiffs.

 12                THE COURT:     But, of course, that's just something I

 13    could work into the opinion, right?

 14                MS. COSTELLO:     Yeah.

 15                THE COURT:     As opposed to producing four opinions or

 16    what have you.     I guess that will be up to me.

 17          All right.    You want to say anything else on that?

 18                MR. FLORA:     I think one opinion could answer all

 19    three questions, Your Honor.

 20                THE COURT:     Okay.   So now we're up to the Adams case.

 21    This one, frankly, confused me the most, candidly, as I went

 22    through the docket.

 23          So that's you, Mr. Amatore, right?

 24                MR. AMATORE:     Yes, sir.

 25                THE COURT:     And then we have -- so Atlantic Richfield

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  1    is out of this case now, right?

  2                 MR. AMATORE:     Not this one, no.

  3                 MS. REITER:     No, Your Honor.     Yes, we are still a

  4    defendant in Adams.

  5                 THE COURT:     Okay.   And as are the other two

  6    defendants.

  7          So talk to me a little bit about what this case -- same

  8    thing.     Why did this take so long?        This thing was first

  9    filed --

 10                 MR. AMATORE:     Sure, Judge.     What --

 11                 THE COURT:     -- five years ago.

 12          Let me finish.

 13                 MR. AMATORE:     Yes, Judge.

 14                 THE COURT:     Let me finish.

 15                 MR. AMATORE:     Sorry.

 16                 THE COURT:     -- five years ago.        And why -- is it just

 17    because you happened to get different clients and that's why

 18    your case is a separate case from the ones that Mr. Flora has

 19    brought?     It's the identical case though, right?           It's the

 20    housing complex residents and people that went to the

 21    elementary school?

 22                 MR. AMATORE:     And a few adjacent people on private

 23    property.

 24                 THE COURT:     Oh, there is.     Okay.

 25          So talk to me about your perspective on this.             What are we

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  1    doing?

  2                 MR. AMATORE:     Judge, I would like to mention -- it

  3    has been slightly mentioned.          The case was removed in 2018.

  4    There was remand proceedings, okay.          We filed our amended

  5    complaint two months after the case was removed to federal

  6    court.   Then it went into the remand proceedings, which the

  7    Baker case was on appeal, so we had to wait for that.             The

  8    first motion to dismiss our complaint was in the summer of

  9    2000, our first amended complaint.

 10                 THE COURT:     2020.

 11                 MR. AMATORE:     2020.    Excuse me, Judge.

 12          And it has proceeded at pace, from our perspective.

 13          The reason we're behind now is because, like everyone

 14    else, all of our injury claims were dismissed for failure to

 15    plead a present actual physical injury, okay.          Some plaintiffs

 16    have pled what you might call soft injuries:          Nausea, learning

 17    disabilities, that kind of thing.          Those passed muster.     We

 18    didn't do those, but some others did.          Those passed muster with

 19    a caveat of good luck on proving it.          Judge Kolar colloquially

 20    saying that.     He said -- but what happened was he granted --

 21    after Judge Van Bokkelen dismissed everything, everyone was

 22    granted leave to file a motion for leave to file an amended

 23    complaint.

 24          Our motion for leave to file the complaint was heavily

 25    criticized by Atlantic Richfield, and we have to say it was

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  1    unclear.    We had some bad terminology and there was some lack

  2    of clarity.     And so during the briefing schedule, you know, the

  3    judge actually chimed in, Judge Kolar, during the briefing

  4    schedule.     The point is, we were given a lot of instruction

  5    from Judge Van Bokkelen and then a lot from Judge Kolar on what

  6    we needed to do, and we have done that.          We have been granted

  7    leave now to file our second amended complaint.

  8                THE COURT:     That was filed last week, right?

  9                MR. AMATORE:     Yes, sir.    We expect a motion to

 10    dismiss.

 11          However, all of the substantive issues have been ruled

 12    upon by -- unless there's new ones -- by either

 13    Judge Van Bokkelen or Judge Kolar.         All we intended to do was

 14    follow their instructions.         We believe we did that, so we

 15    believe we are going to be an issue.

 16                THE COURT:     Okay.

 17          So let me talk to you first, Ms. Costello.          I'm sorry.    I

 18    assume you will be filing a motion to dismiss?

 19                MS. COSTELLO:     Yes, Your Honor.     And this case is a

 20    little different in that it also asserts strict liability

 21    claims and nuisance claims.         And given the way that

 22    Judge Van Bokkelen ruled on the prior motion to dismiss, there

 23    are issues here that would be new in this motion to dismiss,

 24    which we are working on as we speak and will file promptly.

 25                THE COURT:     Okay.

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  1                MR. AMATORE:    Judge, may I report also -- I think it

  2    is important to understand from our perspective, because

  3    we've -- you know, we've come -- we've come to have to accept

  4    this -- we have three plaintiffs with present physical injuries

  5    that we can plead and prove.       There's a cancer in one case.

  6    But we have three plaintiffs with present physical injuries.

  7    We're proceeding largely on the emotional distress claims,

  8    which were all dismissed originally because they -- supposedly

  9    it is not a standalone tort in Indiana, has to be derivative of

 10    some other claim.     And if it's derivative of the negligence

 11    claim, there's no injury on the negligence claim; therefore,

 12    nothing to derive from, and they were dismissed.

 13          However, I filed an additional memorandum and, I believe,

 14    convinced the Court about the modified impact rule in Indiana

 15    and that because we ingested the lead we satisfied the impact.

 16    Remember, just touching the truck, you know, was sufficient.

 17    We satisfied the impact rule, and so we want to proceed our --

 18    so our case is, of 60 plaintiffs, 57 of them really have -- we

 19    have a nuisance claim against DuPont.

 20          But 57 of them, what it's really all about are the

 21    negligent infliction of emotional distress claims.           We've been

 22    very transparent about that and won't want to go into discovery

 23    and have to prove present actual physical injuries when we

 24    can't.   We have also answered interrogatories to that effect.

 25          So we're proceeding -- just to give some understanding of

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  1    the claim, we're proceeding -- ours is largely, except for

  2    three people, an NEID claim.

  3                 THE COURT:    Ms. Reiter, do you want to talk about any

  4    of this?     I do want you to explain to me -- 'cause I really

  5    didn't understand -- there was some kind of snafu with

  6    Judge Kolar's order about whether they could bring the claim

  7    against you guys or not or whether they did.          I don't

  8    understand it.     You understand what I'm getting at?

  9                 MS. REITER:    Yes, I do, Your Honor.

 10                 THE COURT:    Can you explain it to me?

 11                 MS. REITER:    Certainly.   The way the proposed second

 12    amended complaint -- the first proposed amended complaint was

 13    drafted led Magistrate Kolar to believe that plaintiffs were

 14    not trying to assert any claims against Atlantic Richfield

 15    Company; and, therefore, in ruling on that original motion for

 16    leave to amend, Magistrate Judge Kolar didn't address any of

 17    the arguments that we made because he thought we weren't in the

 18    case.

 19            As it turned out, plaintiffs were intending to pursue

 20    claims against Atlantic Richfield on behalf of just four of the

 21    plaintiffs.     So the vast majority of the plaintiffs in the case

 22    resided in the housing complex and for reasons you referenced

 23    earlier cannot bring a suit against Atlantic Richfield Company.

 24            However, there is one family of four that lives in a

 25    private home outside of -- not in the former housing complex,

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  1    and they are seeking to pursue claims against Atlantic

  2    Richfield on behalf of those four plaintiffs.

  3                 MR. AMATORE:     Three of those have injuries of the

  4    four.

  5                 MS. REITER:     Actually, they've only pled injuries as

  6    to two of the four.

  7            And so we filed a motion for reconsideration pointing out

  8    to Magistrate Judge Kolar that, in fact, we understood

  9    plaintiffs to be trying to assert claims against Atlantic

 10    Richfield Company and, therefore, asking him to address our

 11    arguments.

 12            He then ordered plaintiffs' counsel to try again, and they

 13    filed a couple different versions of the second amended

 14    complaint that tried to clean up the errors that Magistrate

 15    Judge Kolar had identified.        And, finally, the most recent

 16    motion for leave to amend was granted just last week.            And the

 17    plaintiffs just filed their second amended complaint on Monday.

 18            Does that answer your questions, Your Honor?

 19                 THE COURT:     Yes, I understand it now.

 20            And then, of course, you are going to be filing a motion

 21    to dismiss that, right?

 22                 MS. REITER:     We will, Your Honor.

 23            And I just want to make a couple points, which is we

 24    dispute that all the substantive issues have been ruled on.             Of

 25    course, we also may make additional new arguments in this case,

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  1    we certainly are allowed to, in this motion to dismiss.            And of

  2    course Your Honor is not bound by a decision that

  3    Judge Van Bokkelen made in the Alvarez case in this case

  4    anyway.

  5          And I won't, unless Your Honor is interested, get into a

  6    lot of the substance on the emotional distress claim, but we

  7    believe we have very strong arguments as to why these

  8    plaintiffs cannot state an emotional distress claim.

  9          Specifically, we do not believe under Indiana law that

 10    they can establish that there was any direct physical impact,

 11    and one of the reasons for that is that Indiana law -- and this

 12    is a Supreme Court decision from Indiana that I'm referencing

 13    here -- requires that the plaintiffs be at the scene of the

 14    allegedly negligent conduct and be physically impacted in a

 15    direct manner.

 16          Obviously, if Atlantic Richfield ceased operating in 1946,

 17    these plaintiffs could not have been at the scene of the

 18    injury-producing conduct.

 19                THE COURT:    I guess it just depends what that means,

 20    right?

 21                MS. REITER:    Right.    But, Your Honor -- right.

 22                THE COURT:    I'm not going to argue the point.

 23                MS. REITER:    We'll get into the details, Your Honor,

 24    but I just wanted to make clear that we believe we have very

 25    strong arguments in favor of dismissal here.

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  1                    THE COURT:     Okay.

  2            What is the physical injury?           You said cancer.

  3                    MR. AMATORE:     It's not a physical injury, Judge.

  4    It's a direct impact.           When you inhale this stuff --

  5                    THE COURT:     That's not what I'm getting at.        You said

  6    you had four plaintiffs who actually had some disease or

  7    some --

  8                    MR. AMATORE:     Yes, Judge.

  9                    THE COURT:     What is that?

 10                    MR. AMATORE:     Well, cancer.     I believe two instances

 11    of cancer and then the other one is softer than that.

 12                    THE COURT:     Aren't there some that are like, oh, I

 13    have a kid who is overweight?           I read that somewhere.

 14                    MR. AMATORE:     Those are the other people.        We didn't

 15    go that route.        We don't plead the soft injuries.           We either

 16    plead actual present physical injuries or we admit we are

 17    proceeding on emotional distress.

 18                    THE COURT:     Understood.     I understand.

 19                    MR. AMATORE:     We don't have that middle ground.        That

 20    does exist in the other cases.

 21                    THE COURT:     I understand.

 22            Okay.     So when are you guys going to have those briefs on

 23    file?

 24                    MS. REITER:     Your Honor, the opening briefs are due

 25    February 6 and should be fully briefed by March 6.

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  1                 THE COURT:     Do you plan to meet those deadlines?

  2                 MS. REITER:     We do.     Atlantic Richfield does.

  3                 MS. COSTELLO:     DuPont defendants do as well.

  4                 THE COURT:     Okay.     I'm not going to give you any time

  5    to ask for more time to respond to it, okay.

  6                 MR. AMATORE:     You got it, Judge.

  7                 THE COURT:     You understand.

  8            All right.   Last case.       This is the one most recently

  9    filed.     This is the one I got from Springmann because it made

 10    sense to send it over to me.

 11            This is -- we have Mr. Flora, Ms. Costello, and

 12    Mr. Connor, and this is the one that has the class allegations

 13    that we talked a little bit about.

 14                 MR. FLORA:     Yes, Your Honor.

 15                 THE COURT:     Just help me out.     Where are we at on

 16    this and where we going?

 17                 MR. FLORA:     This is the newest-filed case.      We had to

 18    file it in state court because the grounds for jurisdiction we

 19    can't invoke, defendant has to because it is federal officer

 20    removal.     But otherwise it's in the same procedural posture as

 21    the other three cases with the added part of they have motions

 22    to strike the class allegations.           Otherwise, even though it is

 23    the newest case, they are all in the same posture.

 24                 THE COURT:     How many plaintiffs you have in this

 25    case?

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  1                MR. FLORA:    This one is 11 plaintiffs.

  2                THE COURT:    Okay.   So what would happen if -- let's

  3    say this survives a motion to dismiss.         I have your motion for

  4    class certification.      I know you strongly disagree that -- but

  5    would it then subsume all the other cases?

  6                MR. FLORA:    Wouldn't subsume all of them.       It would

  7    take probably the vast majority, at least two-thirds, probably

  8    three-quarters of them away because it would pull all of the

  9    minors into one case.

 10                THE COURT:    Why are the minors -- would they be in a

 11    class but other people would not?

 12                MR. FLORA:    It is a statute --

 13                THE COURT:    I know counsel made that point.

 14                MR. FLORA:    It is a statute of limitations issue.

 15    Because anyone who has filed a case already, we didn't see it

 16    necessary to file a class action on their behalf.           Frankly, we

 17    would be in favor of doing so.        We just haven't done so.

 18    Because any of the adults, since all of this would go back to

 19    that June 2016 letter, or maybe it is July, but the 2016 letter

 20    from Mayor Copeland, we see that as starting the statute of

 21    limitations.    These are all personal injury cases, that's two

 22    years statute of limitations.        At this point, we couldn't bring

 23    a class case on behalf of any adults.

 24          So if the class definition applies just to the minors, we

 25    would still be able to bring a case.         It would incidentally

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  1    grab all of the filed minors cases, but the bigger intention of

  2    it is to just take the universe of minor cases, bring them

  3    before the Court, get them all resolved at once.

  4                  THE COURT:    All right.

  5          I understand your position on that.         Do you want to say

  6    anything else about that?

  7                  MS. COSTELLO:     No, Your Honor.

  8                  THE COURT:    Okay.   And, Mr. Connor, do you want to

  9    say anything more about that?         It seems like it's in the same

 10    posture.      Is that fair?

 11                  MR. CONNOR:     I agree, the same posture, aside from,

 12    obviously, the significant issue of a class action and the

 13    toxic tort action, which I'm sure we'll discuss at length at

 14    some point all the reasons why defendants would believe that

 15    that would be both unworkable and probably not really

 16    contribute anything to the conduct of the cases.           So we have a

 17    lot of feelings about that.         But as far as the individual

 18    plaintiffs and the procedural posture, I would agree that it's,

 19    from my perspective, the same as the other cases that we have

 20    with Mr. Flora.

 21                  THE COURT:    Yeah.

 22          Okay.     Let me look at my list of questions here and make

 23    sure I got everything answered here.

 24          Are you anticipating filing any additional cases?

 25    Anybody?

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  1                MR. FLORA:     No.

  2                MR. AMATORE:     No, sir.

  3                MR. FLORA:     Not unless somebody came to us and said

  4    they need a minor's case filed.          Otherwise, no.   We did expect

  5    to get them.

  6                THE COURT:     That's a big -- I mean, that could happen

  7    tomorrow, I suppose.

  8                MR. FLORA:     Your Honor, if we certify the class, then

  9    we don't have to.

 10                THE COURT:     Yeah.     I understand.

 11          Is there a reason these cases, if not actually

 12    consolidated, can be consolidated for purposes of discovery or,

 13    at the very least, is that sort of effectively happening

 14    anyway?

 15                MS. COSTELLO:        Your Honor, it has, to an extent.     We

 16    would say they can appropriately be -- well, with the

 17    exception -- well, we would say they could be coordinated for

 18    purposes of discovery.       And to some extent, that's already

 19    happened.

 20          For example, Magistrate Judge Kolar has held hearings in

 21    all cases collectively.          He had all plaintiffs' counsel weigh

 22    in on the written discovery that the Alvarez plaintiffs served

 23    on defendants, and the other plaintiffs signed off on that.             So

 24    while they weren't entitled to discovery yet, they have at

 25    least reviewed and agreed, you know, this looks like what they

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  1    are seeking, to try to avoid duplicative discovery issues.

  2          The other issue that's been coordinated is the protective

  3    order.   The only case where we've reached that phase is in the

  4    Alvarez case, but the counsel in the other cases have signed

  5    off on the protective order.

  6          So once we get the pleadings cleaned up and we know the

  7    proper parties, the proper claims, who can proceed against who,

  8    we think discovery can proceed pretty efficiently because we

  9    basically have the protective order.         Plaintiffs have signed

 10    off on discovery requests.         We are coordinating those things

 11    that can be done.     That's what's happening so far.

 12                THE COURT:    All right.

 13          So let me ask you, Mr. Flora, from your perspective -- you

 14    represent 300 people or whatever it is?

 15                MR. FLORA:    Right.

 16                THE COURT:    What do you want out of this case?        Is

 17    this case about money?      Is that it?

 18                MR. FLORA:    I think ultimately, yes, it's primarily

 19    about money.

 20                THE COURT:    What's this issue about medical

 21    monitoring?

 22                MR. FLORA:    That may be the necessary source for the

 23    money.   I mean, one of the potential avenues of relief that may

 24    be sought in Indiana is medical monitoring where, basically, a

 25    fund could be set up to pay for these people to continue to get

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  1    care, supervision for conditions that maybe haven't manifested

  2    now but may have to manifest down the line.

  3                THE COURT:     In any of these cases, have any of them

  4    been to mediation, explored any kind of settlement discussions

  5    at all in the seven years since these have been filed?

  6                MR. FLORA:     Your Honor, in our cases -- in these

  7    federal proceedings, we have not been to mediation.           We are

  8    always open to it.       We certainly would be open to any early

  9    settlement.

 10          What we've sensed from the defense is we're going to need

 11    to at least get past motions to dismiss before they are

 12    going --

 13                THE COURT:     Yeah, I understand.

 14          Trust me.    I'm going to get opinions out to you as

 15    promptly as I reasonably can.

 16                MR. FLORA:     Yes.

 17                THE COURT:     I have 300 other cases.     I'm going to do

 18    my best.    But in the next two to three months, we'll get

 19    opinions out to you.

 20                MR. FLORA:     Okay.

 21                THE COURT:     And then I would fully expect at that

 22    point, if the cases are going forward, then it might behoove

 23    people to explore that option.

 24                MR. FLORA:     Your Honor, for example, in the state

 25    cases, we are set for mediation in May in that case.            So

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  1    hopefully we can get that one knocked out and hopefully it

  2    gives us a good idea of how we can work through it in these

  3    cases too.

  4          I do believe, and perhaps I'm wrong -- I believe in

  5    Alvarez there may have been a resolution with one of the

  6    defendants.     I'm not certain on that.        Looking at the docket,

  7    it looks like there may have been resolution with U.S. Smelter.

  8                 MR. AMATORE:     In terms of Adams, Your Honor, because

  9    we're proceeding on the emotional distress claims, we don't

 10    have complicated issues of injuries.           We feel we are

 11    particularly ripe for some sort of mediation.

 12                 MS. COSTELLO:     Your Honor, just to clarify.      There

 13    are personal injury claims in the Adams case.

 14                 MR. AMATORE:     Well --

 15                 THE COURT:     Do you happen to know what the cause

 16    numbers are in the state court cases?

 17                 MR. FLORA:     I can pull them up quickly.

 18                 THE COURT:     Here is what I'm going to ask you to do.

 19    Send an email to my docket clerk, Noel, when you get back to

 20    your office or after the hearing.

 21                 MR. FLORA:     I will get it after the hearing.

 22                 THE COURT:     I want to look at those dockets.

 23                 MR. FLORA:     Yes, Your Honor.

 24                 THE COURT:     I interrupted you.

 25                 MS. COSTELLO:     That was it.

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  1            Mr. Amatore was saying his case is simple because it is

  2    all about emotional distress, which is a complicated issue in

  3    and of itself, but there are personal injury claims in that

  4    case.

  5                 MR. AMATORE:     Right.   But a small number, Judge.       I'm

  6    just saying it is largely about emotional distress, almost

  7    entirely.

  8                 MS. REITER:     And it is three plaintiffs who --

  9                 THE COURT:     Oh, it's three.

 10                 MS. REITER:     -- are claiming physical injury, yes.

 11                 THE COURT:     So do you know -- what is the nature of

 12    the physical injury on those three plaintiffs?

 13                 MS. REITER:     Two -- only one of the plaintiffs who is

 14    alleging cancer is actually suing Atlantic Richfield Company,

 15    but that particular plaintiff claims ovarian cancer.            Her son

 16    claims to suffer from a learning disability.          And then there's

 17    a third plaintiff who is also claiming to suffer cancer.            I

 18    don't remember what type.

 19                 MS. COSTELLO:     I don't recall either.

 20                 MS. REITER:     Not ovarian cancer, a different type of

 21    cancer.

 22                 THE COURT:     Okay.

 23            This has been tremendously helpful to me.        I know it is a

 24    big endeavor getting everybody here.

 25            Does anybody else want to say anything that we haven't

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  1    talked about?     I have a couple more minutes.

  2                MR. FLORA:     Just one simple point.

  3          As far as the consolidation on discovery, something as

  4    simple as having just one filing that comes out that I don't

  5    have to save across four different subfolders with different

  6    ECF numbers would go a long way to helping make these dockets

  7    make sense.

  8                THE COURT:     Yeah, I don't understand that, at least

  9    on the four cases.       They look like mirror images of one

 10    another, and I don't understand why we can't -- but the ball is

 11    in his court to move to consolidate them.          I'm inclined to

 12    consolidate them.

 13          I'm not quite sure I'm understanding your resistance to

 14    it.   You are not prejudiced at all by it, and you are making

 15    life easier for a lot of people.        But you can think about it.

 16    If you want to file that motion, file it, and we'll get right

 17    on it.

 18          Anybody else want to raise any other issue or talk about

 19    anything?

 20                MR. CHIZEWER:     Your Honor, just in anticipation of we

 21    now all have to go over to Judge Kolar's courtroom for a

 22    hearing there --

 23                THE COURT:     That's what I understand.

 24                MR. CHIZEWER:     -- and he's going to want to know

 25    "What did Judge Simon say?"

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  1                 THE COURT:     He's listening.

  2                 MR. CHIZEWER:     Okay.    That's good.

  3                 THE COURT:     I think he is.    He told me that

  4    yesterday.     He was intending to.

  5                 MR. CHIZEWER:     I wanted to be able to, at least,

  6    reflect accurately, sort of, your take of what's going on,

  7    whether there's going to be consolidation.             I mean, we

  8    obviously would object to the consolidation.

  9                 THE COURT:     Yeah.   Your case is a little bit

 10    different.     I understand that.

 11                 MR. CHIZEWER:     Understood.

 12                 THE COURT:     When you have different sets of lawyers,

 13    I understand it is different.          But when I have the exact same

 14    lawyers on both sides of the V and the plaintiffs are the same,

 15    they are either resided at the housing complex or they went to

 16    the elementary school, I don't understand why that wouldn't be

 17    consolidated.        That's all I'm saying.    All right.

 18            All right.     Thank you everybody.    Much appreciated.      Have

 19    a good day.

 20            (A recess was had at 11:50 a.m.)

 21    * * *

 22            (End of requested transcript.)

 23

 24

 25

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  1                                   CERTIFICATE

  2            I, Stacy L. Drohosky, certify that the foregoing is a true

  3    and correct transcript from the record of proceedings in the

  4    above-entitled matter.

  5    Date:     February 6, 2023

  6                                            S/Stacy L. Drohosky
                                               S/STACY L. DROHOSKY
  7                                            Court Reporter
                                               U.S. District Court
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